                  IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF IOWA
                          CEDAR RAPIDS DIVISION

                                                    )
TRACEY K. KUEHL, et al.,                            )   Case No. C14-02034-JSS
                                                    )
                    Plaintiffs,                     )   DECLARATION OF JESSICA
        v.                                          )   BLOME IN SUPPORT OF
                                                    )   PLAINTIFFS’ MOTION IN
PAMELA SELLNER, et al.,                             )   LIMINE TO EXCLUDE EXPERT
                                                    )   OPINION TESTIMONY
                     Defendants.                    )
                                                    )   Judge: Hon. Jon Stuart Scoles
                                                    )   Trial Date: October 5-8, 2015
                                                    )

                      DECLARATION OF JESSICA BLOME

        1.    I am one of Plaintiffs’ attorneys in this matter. I have personal

knowledge of the facts set forth herein.

        2.    Attached hereto as Exhibit 1 is a true and correct copy of the relevant

excerpts of the transcript of the deposition of Ms. Pamela Sellner, taken on March

20, 2015.

        3.    Attached hereto as Exhibit 2 is a true and correct copy of the relevant

excerpts of the transcript of the deposition of Dr. John Pries, taken on March 19,

2015.

        4.    Attached hereto as Exhibit 3 is a true and correct copy of the C.V. for

Dr. John Pries disclosed to Plaintiffs during discovery.

        5.    Attached hereto as Exhibit 4 is a true and correct copy of the relevant

excerpts of the transcript of the deposition of Dr. Gary Pusillo, taken on April 30,

2015.




    Case 6:14-cv-02034-JSS Document 45-1 Filed 09/04/15 Page 1 of 2
       6.     Attached hereto as Exhibit 5 is a true and correct copy of the C.V. for

Dr. Gary Pusillo disclosed to Plaintiffs during discovery.

       7.     Defendants did not produce to Plaintiffs any expert reports at the time

of designation of experts in this matter.

       8.     Plaintiffs deposed Ms. Sellner, and Drs. Pusillo and Pries. Drs. Pusillo

and Pries were unaware of their designation as experts in this matter and had not

formulated an expert opinion. I personally took the deposition of Dr. Pusillo on the

last day of discovery, and at that time he had not formed any expert opinion upon

which he could be questioned.

       9.     At no time have Defendants produced supplemental documentation of

expert opinions.

       10.    As counsel for Plaintiffs, I caused to be filed expert declarations from

Plaintiffs’ experts in conjunction with the Plaintiffs’ motion for summary judgment

(ECF Nos. 21-30, 21-31, 21-32). Defendants did not, in their resistance or at any

time since then, seek to counter Plaintiffs’ experts declarations with Defendants’

experts’ opinions.


   I declare under the penalty of perjury under the laws of the United States that the
   foregoing is true and correct.

EXECUTED in Cotati, California, this 4th day of September, 2015.

                                                    /s/ Jessica Blome
                                                    Jessica L. Blome (pro hac vice)
                                                    Missouri Bar No. 59710
                                                    jblome@aldf.org




    Case 6:14-cv-02034-JSS Document 45-1 Filed 09/04/15 Page 2 of 2
